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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

NALEX ENERGY, LLC                           §
    Plaintiff,                              §
                                            §
VS.                                         §
                                            §     Civ. No. 4:22-cv-01824
LAURITZEN BULKERS A/S,                      §
J. LAURITZEN (U.S.A.), INC.,                §     FED. R. CIV. P. 9(h)
J. LAURITZEN A/S AND                        §     Admiralty Claim
DEAL ENERGY A/S                             §
     Defendants.                            §

                     AMENDED JOINT STATUS REPORT

       Plaintiff/Counter-Defendant     Nalex     Energy,     LLC     (“Nalex”)     and

Defendant/Counter-Plaintiff (“Lauritzen Bulkers A/S”) submit the following

information in response to the Court’s Order to Report dated November 28, 2022 (Dkt.

No. 20):

                         I.     PROCEDURAL HISTORY

       Nalex filed suit on June 3, 2022, against Lauritzen Bulkers A/S, J. Lauritzen

(USA), Inc., J. Lauritzen A/S, and Deal Energy A/S for their failure to pay for marine

fuels delivered to Lauritzen’s chartered vessel, the M/V SHANGHAI. Nalex asserts

two breach of contract claims: (1) breach of a maritime contract for failing to pay for

the marine fuels delivered; and (2) breach of a written promise to pay contingent on

additional testing of the marine fuels, which returned an analysis confirming the

marine fuels were of good quality. [Dkt. No. 1, 21].
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       On September 7, 2022, Lauritzen Bulkers A/S, a Danish company, agreed to

waive service of process pursuant to Rule 4 and file an answer in accordance with the

timeframe permitted by the Federal Rules of Civil Procedure. Lauritzen Bulkers A/S

also requested that Nalex dismiss the other defendants in exchange for an

appropriate stipulation that it is the real party in interest to this dispute. Nalex

agreed to the stipulation. [Dkt.23].

       On November 9, 2022, Lauritzen filed its answer to Nalex’s Original Complaint

and its Counterclaim against Nalex, alleging the marine fuels delivered were off-

specification. [Dkt. 14].

       On November 23, 2022, Lauritzen filed a Third-Party Complaint against Kirby

Inland Marine, LP pursuant to Federal Rule of Civil Procedure 14(c) alleging Kirby

improperly sampled the marine fuels at the time of delivery. [Dkt. 17]. On November

30, 2022, Kirby was served with the Third-Party Summons and Complaint. (Dkt. 24).

The last day for Kirby to answer or otherwise move with respect to the Third-Party

Complaint is December 21, 2022. Kirby has yet to answer or appear in this case.

       On November 30, 2022, Nalex filed its First Amended Complaint (“FAC”)

against Lauritzen and its answer to Lauritzen’s Counterclaim [Dkt. 21 and 22].

       On December 16, 2022, Lauritzen answered Nalex’s FAC and filed an amended

Counterclaim.

                            II.   STATUS OF THE CASE

A.     Nalex’s Statement

       This case arises from the non-payment of marine fuels Nalex delivered to

Lauritzen’s chartered vessel, the M/V SHANGHAI. Nalex delivered the marine fuels



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as contracted. Lauritzen contends the marine fuels delivered contained excess

amounts of aluminum and silicon, thereby rendering it off-specification. Lauritzen

alleges it is owed expectation damages based Nalex’s alleged delivery of defective

fuels. Lauritzen also seeks consequential damages, including the cost of off-loading

the alleged defective fuel.

      Nalex contends that upon receiving Lauritzen’s quality complaint, the parties

reached an agreement to jointly perform final-and-binding testing of the agreed upon

fuel sample retained by Nalex to determine whether the fuel contained permissible

levels of aluminum and silicon. On or about May 2, 2022, the parties’ agreed to have

an independent laboratory perform a final-and-binding quality analysis of the marine

fuels. The laboratory analysis showed the fuel to be on-specification. Nalex also

contends, in the alternative, that the contractual terms between the parties (Nalex’s

General Terms and Conditions), make the results of the joint analysis binding on the

parties.1

      To the contrary, Lauritzen argues that the parties did not agree to perform

final-and-binding testing of the joint sample and disagrees with Nalex’s

interpretation of its general terms.

      The parties do agree, however, that the joint testing of the fuel sample showed

it to be on-specification, including with respect to the aluminum and silicon content.




1Nalex and Lauritzen agree that Nalex’s 2018 General Terms and Conditions govern
the parties’ rights and liabilities for this dispute.



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          Notably, on July 26, 2022, Lauritzen paid Nalex for the marine fuels, less

accrued interest, under protest and subject to a reservation of rights. Lauritzen

contends that the amounts paid to Nalex are not due and owing and should be offset

by the alleged damages claimed by Lauritzen.

          Accordingly, Nalex contends that the parties’ dispute can be distilled into two

critical issues:

          1)    Did Nalex and Lauritzen agree (whether by contract or a
                subsequent written agreement) that the May 2, 2022 fuel sample
                analysis is final-and-binding on the parties?

          2)    Did the fuel delivered to the SHANGHAI meet the required
                specifications for aluminum and silicon (ISO 8217)?

Because the parties agree that the fuel sample tested on May 2, 2022 was on-

specification, a finding in favor of Nalex on the first issue would moot the second

issue. For this reason, Nalex requests the Court bifurcates the issues in this case and

allow for discovery and dispositive motion practice on issue one before the parties

engage in further discovery and dispositive motions on issue two.

1.        Discovery

          i.    Issue 1

          Pursuant to Nalex’s proposal to bifurcate the issues in this case, it intends to

conduct discovery, including requests for production, interrogatories, and requests

for admissions regarding the following:

     •    All correspondence related to Lauritzen’s quality complaint regarding the fuel
          delivered to the SHANGHAI. This includes correspondence with Owners,
          managers, agents, suppliers, and any other third parties regarding the fuels
          purchased from Nalex.




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   •    Lauritzen correspondence with the owners of the SHANGHAI regarding the
        fuel delivered to the SHANGHAI.

   •    The charterparty in place at the time of Nalex’s delivery of the fuels to the
        SHANGHAI.

   •    The SHANGHAI’s itinerary from January 1, 2022 to April 25, 2022.

   •    Any communications with other marine suppliers from January 1, 2022 to
        August 1, 2022 with respect to bunkers supplied to the SHANGHAI.

   •    Any communications and documents exchanged with Stena Oil or Pelagic
        Maritime Ltd. related to de-bunkering (removal of the fuel) the SHANGHAI
        between April 25, 2022 to the present.

   •    Any communications with potential salvors of the allegedly off-specification
        fuel.

        Additionally, Nalex intends to depose a Lauritzen corporate representative

and Mr. Lucas Volkinsfeld, the Bunker Manager for Lauritzen’s bunkering agent

DeaL Energy A/S. Mr. Volkinsfeld directly corresponded with Nalex regarding

Lauritzen’s quality complaint, and Nalex contends he agreed that the May 2, 2022

fuel sample analysis would be final-and-binding on the parties. Nalex reserves the

right to seek additional documents, information, and depositions based on the

evidence elicited by way of these initial requests. Once discovery on issue one is

complete, Nalex intends to move for summary judgment to enforce the parties’

agreement as to the finality of the May 2, 2022 sample analysis results.

        ii.   Issue 2

        In the event that the Court denies Nalex’s summary judgment on issue 1,

Nalex intends to conduct additional discovery regarding characteristics of the fuel

Lauritzen alleges it received from Nalex and Lauritzen’s alleged damages. Such




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discovery will include requests for production, interrogatories, and requests for

admissions regarding the following:2

LOG BOOKS:

    1. Deck Log Book

    2. Deck Bell Book

    3. Engine Room Log Book

    4. Engine Room Bell Book

    5. Main Engine/Telegraph movement recorder chart (Automatic Bell logger)

    6. Engine Room Data Logger and Alarm Logger print-outs (specifically alarms at
       times of alleged damage occurrences)

    7. Oil Record Book

    8. Oil Transfer Book

    9. Fuel/Bunkering/ECA Fuel Change Over Record Book

RECORDS:

    10. Bunkering Records (1 year at the least)

    11. Trim & Stability reports with load distribution for all port arrivals &
        departures

    12. Bunkering Records, pre-bunkering plans, sounding records, sampling records,
        delivery notes

    13. Inventory of fuel oil samples held on board (1 year)

    14. Dry docking records      (last   dry-docking   –   specifically   tank   cleaning
        records/history)




2
 Lauritzen contends that the majority of the documents listed below are in the
custody, possession, and control of the Owners of the M/V SHANGHAI and are not in
the custody possession, and control of Lauritzen.



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  15. Ballast, cargo, sump, settling, service, drain, bilge, sludge & fuel oil tank
      internal examination records, details reports, logs, photographs

  16. Details of bunker receipts from date of last cleaning of HFO tanks to subject
      bunkering on 25APR22 (to include copies of bunker quality reports).

  17. History of HFO stowage on board from date of last cleaning of HFO tanks to
      25APR22

  18. Details of bunkers last contained in No.3 HFO tank (to include copy of
      bunker quality report)

  19. Copy of bunker loading plan for bunkering on 25APR22

FUEL OIL:

  20. Specifications

  21. Sampling & analyses reports (2 year history)

LUBE OIL:

  22. Specification

  23. Sampling & analyses (2-year history)

  24. Usage/make-up/storing records

STATEMENTS/EVIDENCE:

  25. Crew statements pertaining to the incident

  26. Vessel and/or Crew photographs of damages/investigations (if any)

  27. Owner’s reports, photographs

  28. Photographs of any devices used to obtain fuel samples during bunkering
      operations on April 25, 2022

  29. Manuals for any bunker sampling devices aboard the SHANGHAI

CLASS:

  30. Class Survey Status, Conditions of Class & Special Memoranda

  31. Class Survey reports and recommendations pertaining to the incident



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CASUALTY REPORTS:

  32. H & M Surveyor report and/or recommendations

  33. Repair & spare parts Specifications for damages

  34. Repair & Spare Parts Quotations

  35. US Coast Guard, Port State Control and Flag State Reports

  36. Engine maker reports

MAINTENANCE/HISTORY:

  37. Main engine overhaul & calibration records for installed components

  38. Main engine performance reports (current and past 1 year)

  39. Auxiliary engine overhaul & calibration records for installed components

  40. Auxiliary engine performance reports (current and past 1 year)

  41. Engineer’s Workbook

  42. Electrician’s Workbook

  43. Spare parts orders & delivery notes for main engine

  44. Monthly reports to office main & aux engine operating parameters

  45. Any applicable calibration records for machinery-monitoring instruments.

  46. Hand-Over Notes-all engineering ranks (1 year)

  47. Service Reports for attendance of Engine Maker’s representatives

  48. Date of last cleaning of HFO bunker tanks.

ISM/SMS:

  49. Sections of the relevant manuals/reports relating to:

   a. bunkering & oil transfers

   b. ship & machinery performance monitoring & reporting



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   c.   bilge & sludge pumping & handling

   d. records for non-conformities

   e.   records for reporting ship & machinery performance to office

COMMUNICATIONS:

  50. Radio Log, faxes, telexes, e-mails, etc. pertaining to the SHANGHAI’s receipt
      of bunkers from Nalex

  51. Voyage Summaries

  52. Note of Protest

PARTICULARS:

  53. Vessel particulars

  54. Speed/Revs Curve

  55. Maneuvering Speeds, Engine Room/Wheelhouse

  56. Main engine control, local or remote from bridge

DRAWINGS:

  57. General Arrangement Plan

  58. Capacity Plan

  59. Tank Arrangement Plans (with piping connections)

  60. Lube oil system/purifier system schematics/drawings

  61. Oil Transfer/Bunkering piping System

  62. Oil Sampling device & specification

  63. Fuel oil system schematic

  64. Bilge System

MANUALS TO BE MADE AVAILABLE:




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  65. Purifiers

  66. Fuel Treatment System

  67. Main and Auxiliary Engine

DOCUMENT REQUESTS TO LABORATORIES

  68. Confirmation/documentation that laboratory has ISO/IEC 17025:2017
      certification of similar.

  69. Chain-of-Custody documentation for samples received for testing.

  70. Copy of seal breaking report and/or photographs for samples received by lab.

  71. Copy of lab form (lab worksheet) recording raw data for ISO 8217 testing.

  72. Recorded details or brief narrative describing how samples were
      handled/prepared before testing.

  73. For tests using IP501:

        a. Details of Aluminum standard solution (if commercial standard – lot#
           etc, if prepared standard – copy of lab work)

        b. Details of Silicon standard solution (if commercial standard – lot# etc,
           if prepared standard – copy of lab work)

        c. Confirmation as to whether or not an ashing agent was added to the
           test portion

        d. Copy of calibration report/data if not included in raw data printout

        e. Copy of ICP-ES printout for test

DAMAGES

  74. Documents concerning purchase of additional bunkers

  75. Documents concerning handling of allegedly contaminated fuels

  76. Documents concerning efforts to sell the allegedly contaminated fuels

  77. Documents concerning efforts to re-blend the allegedly contaminated fuels

  78. Documents concerning proof of costs and expenses alleged to have been
      incurred by Lauritzen and vessel owner



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       In addition to the requested written discovery, Nalex will seek the depositions

of the SHANGHAI’s crew, corporate representatives of Lauritzen, the SHANGHAI’s

owner, and third-parties involved in the handling of the SHANGHAI’s de-bunkering

operations. Nalex also reserves the right to seek the deposition of any expert or

surveyor retained by Lauritzen.

2.     Dispositive Motions

       With respect to planned dispositive motions, Nalex anticipates filing a motion

for summary judgment as to both its affirmative claims and Lauritzen’s

counterclaims. Pursuant to Nalex’s proposed bifurcation plan, Nalex anticipates first

moving for dispositive relief on Issue 1, above. Specifically, and as set forth in detail

in Nalex’s First Amended Complaint, Nalex and Lauritzen agreed for AmSpec to

perform final-and-binding testing on sample number 1191919, drawn from the barge

manifold. See Nalex’s First Amended Complaint at ¶¶19-21. AmSpec’s analysis of

sample 1191919 confirmed that the fuel was on-specification because the cat fine

levels were within permissible quantities. Id. Nalex is entitled to summary judgment

as to the parties’ agreement that the results of AmSpec’s testing of sample 1191919

would govern the parties’ dispute over the quality of the fuel. Nalex is also entitled to

summary judgment because Lauritzen’s refusal to accept AmSpec’s analysis

constitutes a breach of the agreed terms for this delivery and/or the parties’

subsequent agreement that AmSpec’s testing of sample 1191919 would be final-and-

binding on the parties.




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       In the event the Court denies Nalex relief on Issue 1, Nalex will pursue

dispositive relief on Issue 2. Nalex’s General Terms and Conditions provide that “[i]n

the event of a quality complaint, Seller shall seek to agree with Buyer upon the

appointment of an independent inspector to undertake an analysis of one of the

retained samples.” Nalex’s terms also dictate that “[i]n order to determine the

quality of the Product delivered, Seller shall be entitled to draw or cause to be

drawn, samples of each delivery from Supplier’s designated facilities.” The

only retained samples were drawn from Nalex’s “designated facilities” – the bunker

barge used to deliver the fuel to the SHANGHAI. Every analysis performed on the

samples taken from the barge manifold has resulted in a finding of aluminum and

silicon quantities well within the permissible levels. Nalex is entitled to summary

judgment on Issue 2 because the representative samples of the fuel delivered to the

SHANGHAI evidence that the fuel was on-specification.

       Finally, Nalex intends to seek further dispositive relief as to the limitation of

liability provision limiting Nalex’s maximum liability to the value of the fuel invoice

($249,804.58) and the consequential damage waiver in Nalex’s General Terms and

Conditions.

B.     Lauritzen’s Statement.

       On November 23, 2022, Lauritzen filed a Third-Party Complaint against Kirby

Inland Marine, LP (“Kirby”), pursuant to Rule 14(c), alleging Kirby improperly

sampled the marine fuel that was delivered to the M/V SHANGHAI (the “Vessel”).

(Dkt. 17).




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      Lauritzen objects to Nalex’s proposal to bifurcate the discovery in this action

and limit discovery (in the first instance) to whether the results in the May 2, 2022,

AmSpec certificate of analysis are final and binding on the parties. The reason for

Lauritzen’s objection (set forth in more detail in the Counterclaim filed in this action)

is the existence of other analyses of the marine fuel that indicate it was off-

specification when delivered to the Vessel. The supporting allegations are contained

in ¶¶45-51 of the Counterclaim. (Dkt. 26).

      In sum, three continuous drip samples taken at the Vessel’s bunker intake

manifold on the date of delivery were analyzed and indicated a cat fines content (i.e.,

aluminum + silicon) far in excess of the permissible level under the ISO 8217

standard required by contract between the parties. When the analyses for these three

samples are compared with the analyses of the marine fuel from samples taken by

Kirby from the bunker barge (including the sample analyzed by Amspec), the

significant difference in the cat fines content between the Vessel manifold samples

and bunker barge samples indicates that the bunker barge samples were improperly

taken and/or improperly mixed. As a result, the analyses of the bunker barge samples

do not accurately represent the quality and condition of the marine fuel delivered to

the Vessel because of the improper sampling and/or improper mixing of the samples.

As such, those analyses, including the May 2, 2022, analysis by AmSpec, are not final

and binding on the parties.

      In connection with Lauritzen’s position above, the following discovery is

required from Nalex and Kirby to defend Nalex’ liability allegations and to support




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Lauritzen’s breach of warranty claim against Nalex and claims against Kirby.

Therefore, Lauritzen respectfully requests the Court to order discovery to move

forward without bifurcation.

      The discovery sought by Lauritzen from Nalex and Kirby is listed below.

      Discovery from Plaintiff Nalex


Documents

   1. Contract between Nalex and Kirby Inland Marine regarding physical delivery
      of marine fuel to the M/V SHANGHAI.
   2. Correspondence and other documents exchanged between Nalex and Kirby
      Inland Marine regarding physical delivery of marine fuel to the M/V
      SHANGHAI.
   3. Instructions and other documents given by Nalex to Kirby Inland Marine
      regarding physical delivery of marine fuel to the M/V SHANGHAI.
   4. Instructions and other documents given by Nalex to Kirby Inland Marine and
      other delivery agents regarding physical delivery of marine fuel to vessels.
   5. Instructions and other documents given by Nalex to Kirby Inland Marine
      regarding the practice and protocol of taking of samples of marine fuel
      delivered to the M/V SHANGHAI.
   6. Instructions and other documents given by Nalex to Kirby Inland Marine and
      other delivery agents regarding the practice and protocol of taking of samples
      of marine fuel delivered to vessels.
   7. Claims files from December 1, 2021, to present maintained by Nalex that
      relate to claims made against Nalex for the sale and delivery of marine fuel
      alleged to be off-specification and/or for quality claims.
   8. Records showing to whom (i.e., identity of buyer and vessel) marine fuel sold
      by Nalex was from the same batch of marine fuel delivered to the M/V
      SHANGHAI.
   9. Records showing the storage location of the marine fuel delivered to the M/V
      SHANGHAI from the time of storage in the first shore tank to loading on
      board the Barge Kirby 27735.




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   10. Internal correspondence exchanged between representatives and employees
       of Nalex relating to the marine fuel supplied to the M/V SHANGHAI.
   11. Certificates of analyses from the testing of samples of the marine fuel
       delivered to the M/V SHANGHAI from shore tank samples to bunker barge
       samples.
   12. Records showing from whom Nalex purchased the marine fuel that was
       supplied to the M/V SHANGHAI, including but not limited to the quantity
       and quality of the marine fuel purchased, and certificates of analyses for the
       marine fuel so purchased.
Fact Witnesses – Depositions

   1. Nang Ngo of Nalex
   2. Rule 30(b)(6) representatives of Nalex who are most knowledgeable regarding
      the subject matter and content of the documents listed above under
      “Documents.”
   3. Rule 30(b)(6) representatives of Nalex who are most knowledgeable about
      ISO 8217.
   4. Rule 30(b)(6) representatives of Nalex who are most knowledgeable about the
      practice and procedure for taking of samples of marine fuel delivered to
      vessels, including the M/V SHANGHAI.
   5. Representatives of the laboratories that tested samples of marine fuel
      supplied to the M/V SHANGHAI.


Expert Witnesses – Depositions

   1. Chemists, marine surveyors, and the like retained by Nalex in regard to the
      supply, sampling, and quality determination of the marine fuel to the M/V
      SHANGHAI.
   2. Any other experts retained by Nalex.


Discovery From Third-Party Defendant Kirby Inland Marine

Documents

   1. Contract between Nalex and Kirby Inland Marine regarding physical delivery
      of marine fuel to the M/V SHANGHAI.




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2. Correspondence and other documents exchanged between Nalex and Kirby
   Inland Marine regarding physical delivery of marine fuel to the M/V
   SHANGHAI.
3. Instructions and other documents given by Nalex to Kirby Inland Marine
   regarding physical delivery of marine fuel to the M/V SHANGHAI.
4. Instructions and other documents given by Nalex to Kirby Inland Marine
   regarding the practice and procedure for taking of samples of marine fuel
   delivered to the M/V SHANGHAI.
5. Internal instructions and memoranda of Kirby Inland Marine regarding the
   practice and procedure for taking of samples of marine fuel delivered to the
   M/V SHANGHAI.
6. Internal instructions and memoranda of Kirby Inland Marine regarding the
   practice and procedure for taking of samples of marine fuel delivered to
   vessels.
7. General arrangement and capacity plans for the Barge Kirby 27735.
8. Plans for the Barge Kirby 27735 showing the location where samples of
   marine fuel are taken.
9. Plans for the Barge Kirby 27735 showing the location of the piping for
   loading and discharging and suction for the discharge piping in each tank.
10. Records showing the type and quantity of marine fuels in each of the tanks
    on the Barge Kirby 27735 at the time of delivery of the marine fuel to the
    M/V SHANGHAI.
11. Records showing the rate of discharge of the tanks on the Barge Kirby 27735
    for the marine fuel delivered to the M/V SHANGHAI.
12. Records showing the identity and tank location on the Barge Kirby 27735
    where the marine fuel delivered to the M/V SHANGHAI was loaded and
    stowed, including but not limited to the date when it was first loaded and
    stowed on board the barge and whether and when (dates) the marine fuel was
    shifted between tanks on the barge and the tanks where the shifting
    occurred.
13. Records generated by Kirby Inland Marine in connection with the delivery of
    marine fuel to the M/V SHANGHAI.
14. Claims files from December 1, 2021, to present maintained by Kirby Inland
    Marine that relate to claims made against Kirby Inland Marine in connection
    with the delivery of marine fuel to the M/V SHANGHAI and other vessels.




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Fact Witnesses – Depositions

     1. Rule 30(b)(6) representatives of Kirby Inland Marine who are most
        knowledgeable regarding the subject matter and content of the documents
        listed above under “Documents.”
     2. Rule 30(b)(6) representatives of Kirby Inland Marine who are most
        knowledgeable about ISO 8217.
     3. Rule 30(b)(6) representatives of Kirby Inland Marine who are most
        knowledgeable about the practice and procedure for taking of samples of
        marine fuel delivered to vessels, including the M/V SHANGHAI.
     4. Rule 30(b)(6) representatives of Kirby Inland Marine who are most
        knowledgeable about the procedures for loading, carrying, and delivering
        marine fuel bunker barges to vessels, including the Barge Kirby 27735 and
        the M/V SHANGHAI.
     5. Bargemen on the Barge Kirby 27735 when the marine fuel was delivered to
        the M/V SHANGHAI.


Expert Witnesses – Depositions

     1. Any expert witnesses retained by Kirby Inland Marine.
C.       Mediation
         The parties believe mediation is premature at this time and would be more

appropriate after expert discovery is concluded and before dispositive motions are

filed.

                       III. PROPOSED SCHEDULING ORDER

a.       Nalex’s Proposed Scheduling Order

1.       Discovery on Issue 1 must be completed by March 14, 2023. Counsel may, by
         agreement, continue discovery beyond the deadline.

2.       All dispositive motions as to Issue 1 shall be filed by May 5, 2023.

3.       Experts for Issue 2 on issues which the party has the burden of proof will be
         designated and a report of the expert’s opinion furnished by September 14,




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       2023. Experts on issues which the party does not have the burden of proof will
       be designated and a report of the expert’s opinion furnished by October 16,
       2023.

4.     Challenges to expert designations shall be filed by November 16, 2023.

5.     All remaining discovery must be completed by November 16, 2023. Counsel
       may, by agreement, continue discovery beyond the deadline.

6.     All dispositive motions shall be filed by December 19, 2023.

7.     Pretrial requests for relief under Federal Rule of Civil Procedure 12 and any
       other non-dispositive motions must be filed by December 19, 2023.

8.     The case shall be set for trial after the Court rules on dispositive motions or
       other pretrial requests for relief.

9.     The Parties anticipate that the pending matters can be tried in 3-5 days.

b.     Lauritzen’s Proposed Scheduling Order

       Lauritzen objects to Nalex’s Proposed Scheduling Order and proposes this

schedule instead. Lauritzen’s Proposed Scheduling Order is:

             Fact Discovery – deadline is June 19, 2023

             Expert Reports – deadline is August 18, 2023

             Expert Depositions – deadline is October 19, 2023

             Dispositive Motions – deadline is December 19, 2023


                                        NICHOLS BRAR WEITZNER & THOMAS LLP

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                                   AND

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                              Certificate of Service

       The foregoing Amended Joint Status Report was served on all counsel of record
via the Court’s ECF system on December 19, 2022.


                                      /s/ Kirk M. Lyons




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